 Case 3:22-cr-00855-CAB Document 28 Filed 08/16/22 PageID.85 Page 1 of 3



 1   ZAINAB KHAN
     California State Bar No. 322679
 2   FEDERAL DEFENDERS OF SAN DIEGO, INC.
     225 Broadway, Suite 900
 3   San Diego, California 92101-5030
     Telephone: (619) 234-8467
 4   Facsimile: (619) 687-2666
     Zainab_Khan@fd.org
 5
     Attorneys for Mr. Vega
 6
                            UNITED STATES DISTRICT COURT
 7
                          SOUTHERN DISTRICT OF CALIFORNIA
 8
 9   UNITED STATES OF AMERICA,                    CASE NO.: 22cr855-CAB
10                        Plaintiff,
                                                  Hon. Cathy A. Bencivengo
11           v.                                   Courtroom 15A
                                                  Date: August 19, 2022
12                                                Time: 9:00a.m.
     JAIME VEGA,
13
                          Defendant.              Mr. Vega’s Sentencing Memorandum
14
15
        I.        Jaime Vega
16
             When counsel first met Mr. Vega, he was gaunt and malnourished. Now, Mr.
17
     Vega looks healthy and strong. Mr. Vega, most recently in his life, has dealt with a
18
     constant cycle of drug addiction, law enforcement contact, and homelessness. At
19
     the time of the instant offense, Mr. Vega was homeless, sleeping in various San Diego
20
     parks, and dealing with a debilitating methamphetamine addiction. Mr. Vega was not
21
     in his right state of mind at the time he imported 217 grams of methamphetamine
22
     across the border—he was completely high. The agents in their reports note that Mr.
23
     Vega was “sweating, slurring his words, and was in and out of falling asleep.” When
24
     they asked him if he understood them, Mr. Vega would begin speaking but then would
25
     drift off. The circumstances of this offense are extremely mitigated.
26
             Mr. Vega, for the past decade of his life, has been in a revolving door of custody
27
     due to his drug addiction, and he wants to break the cycle he’s found himself in, and
28
 Case 3:22-cr-00855-CAB Document 28 Filed 08/16/22 PageID.86 Page 2 of 3



 1   he knows that in order to do that he needs to engage in meaningful drug treatment. Mr.
 2   Vega’s methamphetamine use began in his late thirties. It first began with
 3   experimentation, and by the time of his arrest, he was a daily user. He has never
 4   engaged in a drug treatment program, and wants to. He is ready to put his life back on
 5   a positive trajectory. Once he is able to achieve sobriety, he will be able to return to
 6   his family, as he has not wanted them to witness the effect of his drug addiction on
 7   him. PSR 36 (Mr. Vega added that he was homeless because “he did not want to go to
 8   his mother’s home because he was using drugs.”). His family remains supportive of
 9   him, nevertheless.
10            Mr. Vega wants a final chance at kicking his drug addiction for good. He wants
11   to get sober, establish a stable residence, and become gainfully employed as he is able-
12   bodied. Mr. Vega has a strong work history, having years of experience in painting at
13   various companies. He also has experience in restaurant work.
14      II.      The Offense
15            Both parties agree that minor role is appropriate. Prior to Mr. Vega’s arrest, he
16   had been crossing alcohol across the border (hence the commercial alert on him). He
17   would pick up the alcohol in a parking lot in Tijuana and cross it over to San Diego
18   and get a nominal payment for doing so (about $15). That is how he was able to buy
19   food and other necessities while homeless.
20            The day of his arrest, Mr. Vega was high on methamphetamine, and he went to
21   the parking lot to cross some alcohol. When he reached the parking lot, a guy
22   introduced himself and offered Mr. Vega $100 to cross a small package. In his altered
23   state of mind, Mr. Vega agreed and set out for the border, and was promptly arrested.
24   PSR 41 (Mr. Vega acknowledged that he was not thinking clearly prior to his
25   commission of the instant offense because of his methamphetamine use, stating, “It
26   was affecting my decisions, I was focusing on drugs.”) Mr. Vega resolved his case
27   expeditiously and lamented his involvement in the instant offense. PSR 9 (VEGA
28   added, “I would like to apologize, and I think everyone needs a second chance. I want
                                                 2                           22cr855-CAB

                                MR. VEGA’S SENTENCING MEMORANDUM
 Case 3:22-cr-00855-CAB Document 28 Filed 08/16/22 PageID.87 Page 3 of 3



 1   to do things right.).
 2      III.   Conclusion
 3          For the foregoing reasons, Mr. Vega requests a sentence of time-served with
 4   three years of supervision to follow, and no fine. He has been in custody for 153
 5   days (a little over five months).
 6                                        Respectfully submitted,
 7
 8    Dated: August 16, 2022              s/ Zainab Khan
                                          Federal Defenders of San Diego, Inc.
 9                                        Attorneys for Mr. Vega
                                          Email: Zainab_Khan@fd.org
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28
                                              3                           22cr855-CAB

                             MR. VEGA’S SENTENCING MEMORANDUM
